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              IN THE UNITED STATES DISTRICT COURT FOR THE
                           SOUTHERN DISTRICT OF GEORGIA
                                AUGUSTA DIVISION


JAMES H. NORMAN, individually             *
and on behalf of all others               *
similarly situated,                       *
                                          *


       Plaintiff,                         *             CV 121-131
                                          *


              V.                          *

                                          *


KONINKLIJKE PHILIPS N.V.;                 *
PHILIPS NORTH AMERICA, LLC;               *
and PHILIPS RS NORTH AMERICA,             *
LLC,                                      *
                                          *


        Defendants.                       *



                                      ORDER




       Before the Court is Defendants Philips North America, LLC and

Philips      RS    North    America,    LLC's     (collectively   the    "Philips

Defendants") motion to stay proceedings pending a decision by the

Judicial Panel on Multidistrict Litigation ("JPML").                    (Doc. 5.)

For    the   following      reasons, the      Philips   Defendants'     motion   is

GRANTED.




                                  I. BACKGROUND


        Plaintiff filed this class action suit against the above-

named    Defendants        alleging    numerous    claims   involving    recalled

medical devices.           (See Compl., Doc. 1; Doc. 5-1, at 5.)                 The

Philips Defendants represent that there are "[m]ore than 60 other
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lawsuits . . . making similar allegations concerning the recall

and asserting similar claims" that have been filed and that similar

suits continue to be filed across the country.                 (Doc. 5-1, at 5.)

Due   to    this,   a   plaintiff    in    another   case   filed     a    motion   for

transfer      and     coordination      or   consolidation      with       the   JPML,

requesting to centralize all of the suits, including this one.

(Id. at 6.)




                                 II. DISCUSSION


A. Legal Standard

      The power to stay a proceeding is "incidental to the power

inherent in every court to control the disposition of the causes

on its docket with economy of time and effort for itself, for

counsel, and for litigants."              Landis v. N. Am. Co., 299 U.S. 248,

254 (1936).         A district court therefore has broad discretionary

authority in determining            whether a stay is appropriate.                  CTI-

Container Leasing Corp. v. Uiterwyk Corp., 685 F.2d 1284, 1288

(11th Cir. 1982); see also Chudasama v. Mazda Motor Corp., 123

F.3d 1353, 1366 (11th Cir. 1997) ("[D]istrict courts enjoy broad

discretion in deciding how best to manage the cases before them.").

      In     making     its   determination,     a     court   may    consider      the

prudential      advantages     of   a     stay, "but    must   also       examine   the

relative prejudice and hardship worked on each party if a stay is
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or is not granted."      Pise v. Express Marine, Inc., No. 08-0127,

2008 WL 2163920, at *3 (S.D. Ala. May 19, 2008) (citation omitted).

B. Analysis
                                                                   (



       The Philips Defendants have set forth strong arguments about

the benefits of a stay in this case.           A stay will save judicial

resources     because   the    multidistrict    litigation    could    avoid

duplicative pretrial practices and promote judicial economy by

consolidating discovery efforts.         (Doc. 5-1, at 12.)        Further,

they argue that since the JPML briefing was completed in August

2021, a decision will probably be made soon, so the stay will

^^likely be very brief and will not prejudice Plaintiffs." (Id. at

10.)    The Philips Defendants have conferred with opposing counsel

who indicated the Plaintiffs do not oppose the motion; however,

they do intend to file an amended complaint and a waiver of summons

for Defendant Koninklijke Philips N.V., which they ask to not be

precluded by any stay.        (Doc. 5, at 2 n.l.)

       The Court is satisfied that since the case is still in its

preliminary stages, a stay pending the JPML decision would conserve

judicial resources and be in the best interest of the Parties.

Accordingly, this matter is STAYED pending the ruling of the JPML.

This stay shall not prevent the Plaintiffs from filing an amended

complaint or a waiver of summons.
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                            III.   CONCLUSION


     Based on the foregoing, IT IS HEREBY ORDERED that the Philips

Defendants' motion to stay (Doc. 5) is GRANTED and the Clerk is

directed to STAY all proceedings in this case.         The Parties SHALL

FILE an update with the Court within SEVEN (7) DAYS of a decision

by the JPML as to the motion for transfer and coordination or

consolidation.


     ORDER   ENTERED   at   Augusta,   Georgia,    this               day   of

September, 2021.




                                        J.      DAL-iiALL,/chief JUDGE
                                        UNITED STATES DISTRICT COURT
                                        SOUTHERN DISTRICT OF GEORGIA
